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Matthew Bryant (00:01):
What are you doing?

James Garretson (00:02):
Not much. What's going on?

Matthew Bryant (00:06):
Just living the dream. Going to the attorney's office, getting all prepped up.

James Garretson (00:08):
Still?

Matthew Bryant (00:09):
Doing that thing. All week long I'll be in the office out of here just going through everything with a fine-
tooth comb, seeing what we're missing.

James Garretson (00:18):
Geez.

Matthew Bryant (00:20):
Hey, just to double-check, she wants me to send her an email. We're going to try to battle Jeff Johnson
before he gets to the defense attorney or prepare for that. Can you remember what he said to you
Friday?

James Garretson (00:39):
Yeah.

Matthew Bryant (00:39):
I know you said that he's going to beat your ass when you came?

James Garretson (00:43):
Yeah.

Matthew Bryant (00:44):
Can you remember kind of how that went down? Because he can't say that about a Federal witness.

James Garretson (00:51):
I have to play it. When I get stopped, I can play it.

Matthew Bryant (00:53):
Alrighty. Did he say anything about recordings that he had on me or anything or was he just bitching
about the-



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James Garretson (00:59):
No, he didn't say anything about any recordings or anything. No.

Matthew Bryant (01:04):
Just what I'd said about Finlay and holding that over his head?

James Garretson (01:07):
Yeah. That's all he said is basically that, "I have texts from Matt saying to get the Finlay video so you can
dangle it over his head," or something like that.

Matthew Bryant (01:20):
Yeah. Cool. Well, if he's going to threaten a witness, and somebody that he knows is a witness, and my
understanding was that you explained to me it was like, "And if you go up there and testify against Joe,
I'm going to be up there every day and I'm going to beat your ass," or something like that?

James Garretson (01:41):
Yeah. Something like that. I have to play it because he was just yelling nonstop. But he said that he was
going to beat my ass and that I'm not telling him everything and that everybody's lying to him. You
know, just freaking like a little raving lunatic.

Matthew Bryant (02:01):
If you listen to that, make a couple of little notes so I can be as precise as possible.

James Garretson (02:06):
Oh, okay, yeah. I'll do that.

Matthew Bryant (02:09):
And I'll send this email to Amanda and then we'll provide that to the attorney's office. Did he say he was
called by the defense, or did he say he was going up to see the defense?

James Garretson (02:20):
He said he had a meeting with Joe's lawyers on Thursday and-

Matthew Bryant (02:25):
On Thursday.

James Garretson (02:26):
He was going to get Joe off because Joe just shouldn't be going alone and all this other stuff. And that's
about pretty much all he said and then he screamed a lot.

Matthew Bryant (02:43):
Yeah. So his meeting's on Thursday. I thought you said Tuesday.



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James Garretson (02:46):
No, he said Thursday. He said he's meeting with Joe's attorneys on Thursday and that I need to go
because I need to do the right thing and whatever. And, you know-

Matthew Bryant (02:59):
Listen to that and write down a few of those snippets and get them to me so I can put them in an email.

James Garretson (03:04):
Okay, I will. I'm heading back from Dallas right now but as soon as I get to the house, I'll listen to them
all and just write it all down or whatever.

Matthew Bryant (03:14):
Yeah. You don't transcribe the whole thing, just pull out the pertinent parts about him threatening you.

James Garretson (03:20):
Yeah, he's a kook. God, he's a kook. Has he said anything more to you or anything?

Matthew Bryant (03:24):
Nothing, I've not heard anything and trying to [crosstalk 00:03:30].

James Garretson (03:29):
Oh, he did say something on the Watchdog that he referenced, and you can probably screenshot this,
but he referenced taking other methods. That, "I'm going to be off a while." And it's some kind of
reference, kind of like a threatening reference, on his Watchdog site somewhere.

Matthew Bryant (03:52):
Nice.

James Garretson (03:52):
Is what I heard. Because people just read it to me, I don't look at it myself. I've blocked that page and all
that, but he references taking another method or pursuing other avenues or something like that, that
was kind of threatening is how I take it.

Matthew Bryant (04:09):
Is that what he wants, is to get Lowe? Or does he want Joe off, or?

James Garretson (04:14):
I think he wants Lowe off. I think he wants Lowe, but I think he is just... He's just a drama queen. I mean,
when this is all done he'll-

Matthew Bryant (04:26):
He's all over the map.



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James Garretson (04:26):
Yeah. He'll jump on the freaking shoe salesman next. I mean, he's unstable. I mean, he was just
screaming at the top of his lungs like an idiot, like just the screaming and yelling. I mean, the guy is not
stable.

Matthew Bryant (04:42):
Isn't that the truth?

James Garretson (04:42):
If they use him as a witness, that's going to be ridiculous because you never know what he's going to
say. But, yeah, I'll listen to it. As soon as I stop, I'll listen to everything.

Matthew Bryant (04:54):
One other question. And this is just to help me in my memory. Back when I was getting recordings from
you, when you would do the recordings and put them on your phone, and we would meet, and I would
get them, how would I get the recordings? Did I give you a thumb drive?

James Garretson (05:10):
No.

Matthew Bryant (05:10):
Did you just download them on-

James Garretson (05:13):
No, you would plug them into your laptop.

Matthew Bryant (05:17):
Plug your phone into my laptop?

James Garretson (05:18):
No. You would take the little wheel out of the recorder, or whatever, and then you would plug it into
your laptop and download it right then.

Matthew Bryant (05:28):
That's how we did it off the recorder, but the ones that were on your phone?

James Garretson (05:32):
Oh, I emailed them to you.

Matthew Bryant (05:34):
You emailed them all?

James Garretson (05:35):


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Uh-huh (affirmative).

Matthew Bryant (05:36):
Okay. Sounds good. That's just what I want. I couldn't remember.

James Garretson (05:42):
Was it a stressful week? You sound kind of stressed out.

Matthew Bryant (05:47):
Yeah, just trying to remember a little stuff like that in case you get asked a question like, "All right. Well,
how did you get these recordings from the CI?" "I don't really remember."

James Garretson (05:57):
Yeah. Is the Feds calling a lot of people or not, just a few?

Matthew Bryant (06:02):
I don't know. Just a few right now I think.

James Garretson (06:05):
Geez.

Matthew Bryant (06:05):
But they're keeping it kind of lowdown.

James Garretson (06:07):
Yeah. It doesn't seem like they're really preparing to me. You think they'd be out there kicking rocks and
everything.

Matthew Bryant (06:15):
Yeah.

James Garretson (06:19):
All right. Well, I'll go listen to it and word for word.

Matthew Bryant (06:25):
I can get that thing down. Like I said, don't transcribe the whole thing, but you can give me a-

James Garretson (06:33):
Bits and pieces of it? Yeah.

Matthew Bryant (06:35):
Just so I have it that he threatened you and what did he say in the threat, that type of deal.



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James Garretson (06:42):
Gotcha. Because you know, he's going to... If I use the tapes against him, he's going to go coo-coo on me
next. But, whatever.

Matthew Bryant (06:46):
Well, he's already been coo-coo on you once before.

James Garretson (06:52):
Yeah, he was emailing Doug [Taranova 00:06:54] the other night. Facebook messaged him, asking him all
these questions and Doug gets... He's not even getting in them. He wouldn't even get in the middle of it,
but he was demanding answers from him and demanding he answers them or he's going to out him.
Like demanding, you know? And Doug called me and he said, "Should I even respond?" And I said, "Just
ignore him."

Matthew Bryant (07:20):
Yeah.

James Garretson (07:20):
But I guess he's sending everybody and their mother messages.

Matthew Bryant (07:25):
Yeah.

James Garretson (07:25):
I guess his kids nap a lot or something. He has plenty of time to hate on everybody.

Matthew Bryant (07:31):
Yeah, what a mess.

James Garretson (07:35):
Yeah. But as soon as I get back, I'm fixing to cross the border and I'll listen to it and send that to you.

Matthew Bryant (07:40):
Sounds good, dude.

James Garretson (07:40):
All right. Bye.

Matthew Bryant (07:40):
All right, man. Bye.




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